       Case 3:22-cv-00336-MMD-CLB Document 38 Filed 08/02/23 Page 1 of 2



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 7   Attorneys for Defendant Jonathan Engler
 8                                   UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10

11   GUARANTEED RATE AFFINITY, LLC,                          Case No. 3:22-CV-00336-MMD-CLB
12                      Plaintiff,                           STIPULATION AND [PROPOSED]
                                                             ORDER FOR DISMISSAL WITH
13          v.                                               PREJUDICE
14   JONATHAN ENGLER,
15                      Defendant
16

17          The parties to this action, in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
18   jointly stipulate to dismissal of all claims with prejudice and state as follows:
19          1.      The parties have settled their dispute and entered into a confidential settlement
20   agreement, and they jointly wish to dismiss this case with prejudice, with each party to pay his or its
21   own costs and attorneys’ fees.
22          2.      As required by Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this stipulation for
23   dismissal is signed by all parties who have appeared in the action or by their attorneys.
24          WHEREFORE, the parties ask this Court to dismiss this case with prejudice, with each party
25   to pay his or its own costs and attorneys’ fees.
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        Case 3:22-cv-00336-MMD-CLB Document 38 Filed 08/02/23 Page 2 of 2



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     Dated: August 1, 2023
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     Respectfully submitted,                Respectfully submitted,
 3

 4    /s/ Thomas W. Carroll                 /s/ Steven A. Caloiaro
     KARYN M. TAYLOR, ESQ.                 STEVEN A. CALOIARO, ESQ.
 5   LUKE W. MOLLECK, ESQ.                 BROOKS T. WESTERGARD, ESQ.
     JAMES W. WITZ, ESQ.                   DICKINSON WRIGHT PLLC
 6   THOMAS W. CARROLL, ESQ.
     LITTLER MENDELSON, P.C.
 7

 8   Attorneys for Plaintiff               Attorneys for Defendant
     GUARANTEED RATE AFFINITY, LLC         JONATHAN ENGLER
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10
                                         ORDER
11
            IT IS SO ORDERED.                  DATED THIS 2nd Day of August 2023.
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                                               UNITED STATES DISTRICT JUDGE
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